                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                        Plaintiff,         )
                                           )
vs.                                        )       Case No. 12-00291-18-CR-W-GAF
                                           )
RAHMON ALLEN,                              )
                                           )
                        Defendant.         )

                                          ORDER

        Pending before the Court is Defendant's Motion to Dismiss Indictment (Doc. #828).

Defendant seeks dismissal of the Second Superseding Indictment against him due to a violation

of his right to a speedy trial.

        On November 6, 2018, United States Magistrate Judge John T. Maughmer issued his

Report and Recommendation (Doc. #846). On November 20, 2018, Defendant's Objections to

the Report and Recommendation (Doc. #849) were filed.

        Upon careful and independent review of the pending motion, defendant’s objections to

the Magistrate's Report and Recommendation, as well as the applicable law, this Court hereby

adopts and incorporates as its own Opinion and Order the Report and Recommendation of

United States Magistrate Judge John T. Maughmer.

        Accordingly, it is hereby ORDERED that Defendant's Motion to Dismiss Indictment

(Doc. #828) is DENIED.

        SO ORDERED.

                                                   s/ Gary A. Fenner
                                                   GARY A. FENNER, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: November 28, 2018


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